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                        UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF OHIO
                              EASTERN DIVISION


UNITED STATES OF AMERICA,                  )        CASE NO. 4:16CR88-17
                                           )
                      PLAINTIFF,           )        JUDGE SARA LIOI
                                           )
vs.                                        )
                                           )        ORDER
ALLISON HARRIS,                            )
                                           )
                                           )
                      DEFENDANT.           )

        This matter is before the Court upon Magistrate Judge Limbert's Report and

Recommendation that the Court ACCEPT Defendant Allison Harris' ("Defendant") plea

of guilty and enter a finding of guilty against Defendant. (Doc. No. 400.)

        On March 23, 2016, the government filed an Indictment against Defendant. (Doc.

No. 1.) On July 12, 2016, this Court issued an order assigning this case to Magistrate

Judge Limbert for the purpose of receiving Defendant's guilty plea. (Doc. No. 355.)

        On July 21, 2016, a hearing was held in which Defendant entered a plea of guilty

to Count 1 of the Indictment, charging her with Conspiracy to Defraud Food Stamp

Programs, in violation of 18 U.S.C. Section 371. Magistrate Judge Limbert received

Defendant's guilty plea and issued a Report and Recommendation ("R&R")

recommending that this Court accept the plea and enter a finding of guilty. (Doc. No.

400.)

        Neither party objected to the Magistrate Judge's R&R in the fourteen days after it

was issued.
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       Upon de novo review of the record, the Magistrate Judge's R&R is ADOPTED.

Specifically, the Court finds as follows: that the defendant is competent to enter a plea,

that she understands her constitutional rights, that she is aware of the consequences of

entering a plea, and that there is an adequate factual basis for the plea. The Court further

finds that the plea was entered knowingly, intelligently, and voluntarily. Accordingly, the

Defendant's plea of guilty is APPROVED.

       Therefore, the Defendant is adjudged guilty of Count 1 in violation of 18 U.S.C.

Section 371. The sentencing will be held on October 12, 2016 at 1:00 p.m.

       IT IS SO ORDERED.



Dated: August 26, 2016
                                               HONORABLE SARA LIOI
                                               UNITED STATES DISTRICT JUDGE
